          Case 1:17-cv-06419-JSR Document 9 Filed 09/06/17 Page 1 of 7
            Case 1:17-cv-06419-JSR Document 5 Filed 08/30/17 Page 1of2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------x

METROMOTION PRODUCTIONS, INC., a                                  CASE NO. 17-cv-06419
New York Corporation, and DAYLIGHT                                                            --   ,   .......
STUDIO, LLC. a New York Limited Liability
Corporation,

                  Plaintiffs,

                             VS.
FIREMAN"S FUND INSURANCE COMPANY,
A California Corporation,

                  Defendant.
--------------------------------------------------------------x

                                        ORDER FOR ADMISSION
                                           PROHACVICE

         The motion    of~   Michael L. Childress, for admission to practice Pro Hae Vice in the above

captioned action is granted.


         Applicant has declared that he is a member of good standing of the bar(s) of the state(s) of

Illinois and Florida; and that his contact information is as follows:


         Michael L. Childress
         Childress Loucks & Plunkett
         11 West Illinois Street 4th Floor
         Chicago, lllinois 60654
         Tel:       312-494-0200
         Facsimile: 312-494-0202


         Applicant having requested admission Pro Hae Vice to appear for all purposes as counsel

for METROMOTION PRODUCTIONS, INC .. a New York Corporation, and DAYLIGHT

STUDIO. LLC, a New York Limited Liability Corporation. In the above entitled action;
        Case 1:17-cv-06419-JSR Document 9 Filed 09/06/17 Page 2 of 7
          Case 1:17-cv-06419-JSR Document 5 Filed 08/30/17 Page 2 of 2




       IT IS HEREBY ORDERED that Applicant is admitted to practice Pro Hae Vice in the

above captioned case in the United States District Court for the Southern District of new York.

All attorneys appearing before this Court are subject to the Local Rules of this Court, including

the Rules governing discipline of attorneys.


Dated: August 24, 2017



                                               United States District/Mrrgtsmne Judge
                                                        fr--5-;7
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                   1                 Document~ Filed        7     1 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------x

METROMOTION PRODUCTIONS, INC., a                                  CASE NO. 17-cv-06419
New York Corporation, and DAYLIGHT
STUDIO, LLC, a New York Limited Liability
Corporation,

                  Plaintiffs,

                      vs.
FIREMAN'S FUND INSURANCE COMPANY,
A California Corporation,

                  Defendant.
--------------------------------------------------------------x

                            MOTION FOR ADMISSION PRO HAC VICE

         Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the Southern and

Eastern Districts of New York, Plaintiffs, METROMOTION PRODUCTIONS, INC., a New

York Corporation, and DAYLIGHT STUDIO, LLC, a New York Limited Liability Corporation,

hereby move this Court for an Order for admission to practice Pro Hae Vice to appear as counsel

for METROMOTION PRODUCTIONS, INC., a New York Corporation, and DAYLIGHT

STUDIO, LLC, a New York Limited Liability Corporation in the above-captioned action. In

support of this motion, Plaintiffs state as follows:


         1.       I am in good Standing of the bar(s) of the state of Illinois and Florida. See

Exhibits A and B.


         2.       I have never been convicted of a felony nor have I ever been censured, suspended,

disbarred or denied admission or readmission by any court.


         3.       T have attached the affidavit pursuant to Local Rule 1.3. See Exhibit C.
        Case 1:17-cv-06419-JSR Document 9 Filed 09/06/17 Page 4 of 7
         Case 1: 17-cv-06419-JSR        4                          2




Dated: August 23, 2017


                                        Respectfully submitted,




                                        /s/ Michael L. Childress
                                        Michael L. Childress

Michael L. Childress
CHILDRESS LOUCKS & PLUNKETT
11 West Illinois Street
4th Floor
Chicago, Illinois 60654
Telephone: (312) 494-0200
Facsimile: (312) 494-0202
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         .·1---;
         . j_ I        9-JSF~                                                1     1




                   Certificate of Admission
                    To the Bar of Illinois
I, Carolyn Taft Grosboll, Clerk of the Supreme Court of Illinois, do hereby certify that



                                  Michael Childress



has been duly licensed and admitted to practice as an Attorney and Counselor at
Law within this State; has duly taken the required oath to support the
CONSTITUTION OF THE UNITED STATES and of the STATE OF ILLINOIS, and
also the oath of office prescribed by law, that said name was entered upon the Roll
of Attorneys and Counselors in my office on 11/05/1981 and is in good standing, so
far as the records of this office disclose.




                                         IN WITNESS WHEREOF, I have hereunto
                                                subscribed my name and affixed the
                                                seal of said Court, this 22nd day of
                                                August, 2017.




                                                                                Clerk,
                                                 Supreme Court of the State of Illinois
     Case 1:17-cv-06419-JSR Document 9 Filed 09/06/17 Page 6 of 7
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 I JOHN A. TO!vlASINO, Clerk of ihe Supreme Couri of ihe State of Florida, do

hereby certify that

                        MICHAEL CHILDRESS

was admitted as an attorney and counselor eniitled to practice law in all the

Courts of the State of Florida on July 25, 2005, is presently in good

standing, and that the private and professional character of the attorney

appear to be good.




                                  WITNESS my hand and the Seal of the

                                  Supreme Court of Florida at Tallahassee,
         Case 1:17-cv-06419-JSR Document 9 Filed 09/06/17 Page 7 of 7
                     7                                                              7     1    1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------x
METROMOTION PRODUCTIONS, INC., a                                        CASE NO. 17-cv-06419
New York Corporation, and DAYLIGHT
STUDIO, LLC, a New York Limited Liability
Corporation,
             Plaintiffs,

                           vs.

FIREMAN'S FUND INSURANCE COMPANY,
A California Corporation,

                  Defendant.
                                 AFFIDAVIT OF MICHAEL CHILDRESS

       I, Michael L. Childress, am over the age of 18 and am competent to the following matters
on personal knowledge as otherwise noted below.

         1.     I am an attorney at law and have been a member of the American Association for
Justice since December 3, 1997, my office address is 11 West Illinois Street, 4th Floor, Chicago,
lllinois 60654.

     2.      I am an active member of the Supreme Court of Illinois and was admitted on
November 5, 1981.

         3.       I was admitted to the Florida Bar on November 5, 2005.

       4.      I have never been convicted of a felony, I have never been censured, suspended,
disbarred or denied admission or readmission by any court and there are no disciplinary
proceedings presently against me.

        5.      I am familiar with the provision of the Judicial Code (Title 28, U.S.C.) which
pertain to the jurisdiction of, and practice in, the United States District Courts; (b) the Federal
Rules of Civil Procedure; (b) The federal Rules of Evidence; (c) the local Rules of the United
States District Court for the Southern and Eastern Districts of New York; and (d) the New York
State Rules of Professional conduct as adopted from time to time by the Appellate Divisions of
the State of New York.

      5.      I, Michael L. Childress will faithfully adhere to all rules applicable to applicant's
conduct in connection with any activities in this court.
                                                      By;?y~c::Y~
Affiant further sayeth naught.                                    Michael L. Childress
